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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                             MISSOULA DIVISION

JOSEPH ROBINSON and JENNIFER
ROBINSON,                                         CV 25-12-M-KLD

      Plaintiffs,
                                                  ORDER
vs.

EXPERIAN INFORMATION
SOLUTIONS; TRANSUNION LLC;
EQUIFAX INFORMATION
SERVICES, LLC; ROCKY
MOUNTAIN RECOVERY
SYSTEMS, INC., and JOHN DOES 1-
10.
    Defendants.


       Defendant Experian Information Solutions moves for the admission of

Angela M. Taylor to practice before this Court in this case with Thomas J. Leonard

to act as local counsel. Ms. Taylor’s application appears to be in order.

       Accordingly, IT IS HEREBY ORDERED that Defendant’s motion to admit

Angela M. Taylor pro hac vice is GRANTED on the condition that Ms. Taylor

shall do her own work. This means that Ms. Taylor must do her own writing, sign

her own pleadings, motions, and briefs, and appear and participate personally.

Counsel shall take steps to register in the Court’s electronic filing system (“CM-

ECF”). Further information is available on the Court’s website,

www.mtd.uscourts.gov, or from the Clerk’s Office. Local counsel may move for
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the admission pro hac vice of one (1) associate of Ms. Taylor’s firm. Such

associate, if duly admitted, shall be authorized to participate in this case on the

same terms and conditions as Ms. Taylor.

      IT IS FURTHER ORDERED that this Order is subject to withdrawal unless

Ms. Taylor, within fifteen (15) days of the date of this Order, files a pleading

acknowledging her admission under the terms set forth above.

      DATED this 20th day of February, 2025.



                                        ___________________________
                                        Kathleen L. DeSoto
                                        United States Magistrate Judge
